                             1                                       Exhibit A
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B AKER & H OSTE TLER LLP




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   A TTORNEYS AT L AW
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                             1                               COMPENSATION BY PROFESSIONAL
                                                             JUNE 1, 2019 THROUGH JUNE 30, 2019
                             2
                                 The attorneys who rendered professional services in these Chapter 11 Cases from June 1, 2019
                             3   through June 30, 2019 for which Baker is seeking compensation are:
                             4         NAME OF
                                     PROFESSIONAL                                                          TOTAL
                             5                               PRIMARY *
                                     PARTNERS AND                               YEAR          HOURLY       HOURS          TOTAL
                                       COUNSEL:            DEPARTMENT         ADMITTED         RATE        BILLED      COMPENSATION
                             6
                                 Benson, Glenn S.             ENERGY              1993           $640.00      55.80            $35,712.00
                             7
                                 Bloom, Jerry R.              ENERGY              1980         $1,145.00      42.90            $49,120.50
                             8   Casey, Lee A                    LIT              1982         $1,255.00        8.20           $10,291.00

                             9   DeLaquil, Mark W                LIT              2004           $885.00        3.50             $3,097.50
                                 Dettelbach, Steven M.           LIT              1991         $1,015.00        2.10             $2,131.50
                            10
                                 Dumas, Cecily A.                BRCR             1984           $950.00     157.10           $149,245.00
                            11   Esmont, Joseph M.               BRCR             2008           $600.00     134.70            $78,300.00
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                            12   Fuller, Lars H.                 BRCR             1995           $545.00     163.20            $87,172.75
   A TTORNEYS AT L AW
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                                 Goodman, Eric R.                BRCR             2003           $800.00     194.00           $146,120.00
                            13
                                 Green, Elizabeth A              BRCR             1986           $720.00      38.90            $26,928.00
                            14
                                 Grossman, Andrew M.             LIT              2008           $850.00        2.50             $2,125.00
                            15   Hartman, Ruth E.                LIT              2004           $470.00      37.40            $17,578.00

                            16   Julian, Robert                  LIT              1979         $1,175.00     157.70           $184,651.25
                                 Kristiansen, Eric               LIT              2000           $685.00      42.40            $29,044.00
                            17
                                 McLellan, Melinda L.            PDP              2005           $765.00        9.60             $7,344.00
                            18   Morris, Kimberly S.             LIT              2004           $895.00     154.70           $137,695.75

                            19   Parrish, Jimmy D.               BRCR             2000           $590.00      24.20            $14,278.00
                                 Payne Geyer, Tiffany            BRCR             2000           $455.00      44.60            $20,293.00
                            20
                                 Rivkin, Jr., David B.           LIT              1985         $1,625.00      29.40            $47,775.00
                            21   Rose, Jorian E.                 BRCR             1998         $1,010.00     118.00           $115,443.00
                            22   Sagerman, Eric T.               BRCR             1991         $1,145.00      26.00            $29,770.00
                                 Weible, Robert A.               CORP             1978           $830.00      79.50            $65,985.00
                            23
                                 Woltering, Catherine E.         LIT              2008           $750.00      50.50            $37,875.00
                            24
                                 Total Partners and
                                 Counsel:                                                                   1,576.90         $1,297,975.25
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                                 *
                                  BRCR – Bankruptcy, Restructuring and Creditors’ Rights; CORP – Corporate Governance; ENERGY – Energy;
                            28   LIT – Litigation; IP – Intellectual Property; PDP – Privacy and Data Protection; T – Tax;

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                             1      NAME OF                                                                   TOTAL
                                  PROFESSIONAL             PRIMARY                YEAR          HOURLY        HOURS         TOTAL
                             2
                                    ASSOCIATES:          DEPARTMENT             ADMITTED         RATE         BILLED     COMPENSATION
                             3   Attard, Lauren T.          BRCR                      2008         $600.00      118.90         $62,970.00

                             4   Bent, Camille C.           BRCR                      2009         $610.00       29.60         $18,056.00
                                 Blanchard, Jason I.        BRCR                      2011         $650.00       91.40         $59,410.00
                             5
                                 Bloom, Taylor A                PDP                   2013         $475.00       11.10          $5,272.50
                             6   Brown, Arielle L.              PDP                   2014         $360.00       17.60          $6,336.00
                             7   Donaho, Thomas A.              LIT                   2011         $530.00       38.70         $20,511.00

                             8   Forhan, Elliot P.          CORP                      2013         $340.00      141.80         $48,212.00
                                 Kates, Elyssa S.           BRCR                      2000         $760.00      123.30         $93,708.00
                             9
                                 Kavouras, Daniel M.            LIT                   2012         $365.00      123.80         $40,077.00
                            10   Khan, Ferve E.             BRCR                      2008         $655.00       31.10         $20,370.50

                            11   Layden, Andrew V.          BRCR                      2010         $550.00       22.90         $12,595.00
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                                 Martinez, Daniella E.          LIT                   2016         $400.00       24.80          $9,920.00
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   A TTORNEYS AT L AW




                                 McCabe, Bridget S.             LIT                   2010         $630.00       32.70         $20,601.00
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                            13
                                 Prabucki, Kenneth              LIT                   2010         $385.00        4.90          $1,886.50
                            14   Raile, Richard                 LIT                   2012         $565.00       13.90          $7,853.50

                            15   Rice, David W.                 LIT                   2010         $610.00       44.20         $26,962.00
                                 Sabella, Michael A.        BRCR                      2009         $610.00        2.60          $1,586.00
                            16
                                 Sproull, Kelsey M.             LIT                   2011         $515.00       34.30         $17,664.50
                            17   Zuberi, Madiha M.              LIT                   2009         $605.00       86.80         $52,514.00
                            18   Total Associates:                                                              994.40        $526,505.50

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                            20                                                                               TOTAL
                                      NAME OF                      PRIMARY                   HOURLY          HOURS          TOTAL
                            21   PARAPROFESSIONALS:             DEPARTMENT                    RATE           BILLED      COMPENSATION

                            22   Bekier, James                  Litigation Services             $495.00          2.30           $1,138.50
                                 Bookout, Kimberly M.           Litigation Services             $250.00          4.40           $1,100.00
                            23
                                 Greenfield, Juanita                   LIT                      $200.00         41.50           $8,300.00
                            24   Kinne, Tanya M.                      CORP                      $365.00         44.00          $16,060.00

                            25   Landrio, Nikki                 Litigation Services             $420.00         93.90          $39,438.00
                                 Lane, Deanna L.                      BRCR                      $280.00         33.00           $9.240.00
                            26
                                 Mazoch, Jo Ann M.              Summer Associate                $250.00          5.70           $1,425.00
                            27   McDonald, Michael H.           Litigation Services             $230.00         12.70           $2,921.00
                            28   Peterson, Peggy A                     Tax                      $430.00         63.60          $27,348.00

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                             1
                                                                                                          TOTAL
                                      NAME OF                        PRIMARY               HOURLY         HOURS           TOTAL
                             2
                                 PARAPROFESSIONALS:               DEPARTMENT                RATE          BILLED       COMPENSATION
                             3   Ravick, Jacob H.                       BRCR                    $250.00      64.40            $16,100.00

                             4   Rawles, Michael                         LIT                    $270.00      11.40             $3,078.00
                                 Zuniga, Diego F.                    International              $325.00       6.50             $2,112.50
                             5
                                 Total Paraprofessionals
                             6   and other non-legal staff:                                                 383.40           $128,261.00

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                            10                PROFESSIONALS                          BLENDED RATE     TOTAL HOURS         TOTAL
                                                                                                        BILLED         COMPENSATION
                            11   TOTALS:
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   A TTORNEYS AT L AW




                                 Partners and Counsel                                       $823.12         1,576.90       $1,297,975.25
      L OS A NGELE S




                            13   Associates                                                 $529.47          994.40         $526,505.50

                            14   Blended Attorney Rate                                      $709.56         2,571.30       $1,824,480.75

                                 Paraprofessionals and other non-legal staff                $334.54          383.40         $128,261.00
                            15
                                 Total Fees Incurred                                        $660.89         2,954.70       $1,952,741.75
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